             Case 1:20-cv-01410-UNA Document 3 Filed 06/08/20 Page 1 of 2                        FILED
                                                                                                        6/8/2020
                                                                                            Clerk, U.S. District & Bankruptcy
                                                                                            Court for the District of Columbia
                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

PAUL HANSMEIER,                                 )
                                                )
                Plaintiff,                      )
                                                )
        v.                                      )        Civil Action No. 1:20-cv-01410 (UNA)
                                                )
                                                )
WILLIAM P. BARR,                                )
                                                )
                                                )
                 Defendant.                     )

                                                ORDER

        The court hereby advises plaintiff that federal law, effective April 9, 2006, requires a

plaintiff in a civil action to pay a filing fee of $350.00. In order for the court to consider plaintiff=s

application to proceed without prepayment of fees, plaintiff must provide the court with a certified

copy of his trust fund account statement (or institutional equivalent), including the supporting

ledger sheets, for the six-month period immediately preceding the filing of this complaint, obtained

from the appropriate official of each prison at which plaintiff is or was confined. 28 U.S.C. §

1915(a)(2). After submission of the trust fund information, the court will determine plaintiff=s

ability to pay the entire amount in one payment. If the court determines that plaintiff does not have

sufficient funds to pay the filing fee at one time, the court will assess an initial partial filing fee.

After payment of the initial partial filing fee, monthly payments of 20 percent of the deposits made

to plaintiff=s trust fund account during the preceding month will be forwarded to the clerk of the

court each time the account balance exceeds $10.00. Payments will continue until the filing fee is

paid.

        It is hereby



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       ORDERED that, within thirty (30) days of this order, plaintiff shall provide the

information described above, or provide the court with an affidavit, submitted under oath, as to

why he cannot obtain such information. Failure to comply with this order will result in dismissal

of this action without prejudice.

       SO ORDERED.




                                                    __________/s/_____________
                                                       EMMET G. SULLIVAN
                                                      United States District Judge

DATE: June 8, 2020




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